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United States Court of Appeals
                            for the

                   Fifth Circuit

                       Case No. 23-20191

HILDA M. CASTANEDO ESCALON; ESTATE OF HILDA CASTANEDO;
                 ESTATE OF EMMA DIAZ,
                                                     Plaintiffs-Appellants,
                             – v. –
 TRAFIGURA TRADING L.L.C.; TRAFIGURA GROUP PTE LIMITED;
               TRAFIGURA PTE LIMITED,
                                                    Defendants-Appellees.
                 _____________________________
  ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
  SOUTHERN DISTRICT OF TEXAS (HOUSTON), CASE NO. 4:21-CV-659
      HONORABLE ALFRED H. BENNETT, U.S. DISTRICT JUDGE


   BRIEF FOR PLAINTIFFS-APPELLANTS HILDA M.
     CASTANEDO ESCALON, AS THE PERSONAL
    REPRESENTATIVE OF THE ESTATE OF HILDA
   CASTANEDO AND THE ESTATE OF EMMA DIAZ


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                          Certificate of Interested Persons

     Appellants Hilda M. Castanedo Escalon, et al., by their undersigned counsel

and under Fed. R. App. P. 26.1 and 5th Cir. R. 26.1-1, certify that this Certificate of

Interested Persons constitutes a complete list of the persons, firms, partnerships,

corporations, and entities who have interest in the outcome of this appeal.

Identifiable interested parties to the action are:

          •    Plaintiff Hilda M. Castanedo Escalon
          •    Plaintiff Estate of Hilda Castanedo

          •    Plaintiff Estate of Emma Diaz
          •    Defendant Trafigura Trading, LLC

          •    Defendant Trafigura Pte Ltd.
          •    Defendant Trafigura Group Pte Ltd.

          •    Other members of the Trafigura Group may have a financial interest
               in the outcome of this litigation.

          •    Baron, David A., Attorney for Appellants
          •    Berliner Corcoran & Rowe, LLP Attorneys for Appellants

          •    Bennett, Alfred H, U.S. District Court Judge, Southern District of
               Texas

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        •    Fields, Richard W., Attorney for Appellants

        •    Lopez, Laina C., Attorney for Appellants
        •    Madriz, Yasser A., Attorney for Appellees

        •    MCGUIREWOODS LLP, Attorneys for Appellees

        •    White, Melvin, Attorney for Appellants


      Appellants are not corporations, and thus, they have no parent corporations,

nor does any publicly traded corporation own 10% or more of their stock.


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                      Statement Regarding Oral Argument

      Oral argument is necessary and will assist the Court in resolving this appeal,

which raises important questions of first impression regarding Florida probate law

and its interaction with the private right of action Congress created under the Helms-

Burton Act for victims of the Castro regime.




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                                   Introduction

      In 1968, Plaintiff-Appellant Hilda Castanedo Escalon (“Escalon” or “Personal

Representative”) was forced to flee her home country of Cuba as a teenager, never

to return. She spent five long years living alone in the United States, before her

mother Hilda Castanedo (“Hilda”) and her aunt Emma Diaz (“Emma”) joined her in

Miami (she never saw her father again). The family’s lucrative mining business and

other property remained in Cuba, where it had been confiscated by the Castro regime

in 1960 with no compensation paid to the family. Her grandfather Waldo, a second-

generation owner of the family’s mining business, was so devastated that he suffered

a massive stroke and remained paralyzed until his death in Cuba a few years later.

The Castro regime’s oppression forced other family members to flee Cuba too.

      Over the ensuing three decades, Escalon rebuilt her life in the U.S. with her

mother and aunt. They became U.S. citizens and created a new family in their new

country. Then, in 1996, Congress acted to provide compensation to victims of the

Castro regime. The Cuban Liberty and Democratic Solidarity Act (LIBERTAD) of

1996, 22 U.S.C. § 6021, et seq.—also known as the Helms-Burton Act (“HBA”)—

seeks to deter the unauthorized commercial exploitation of confiscated property in

Cuba, and Title III of the HBA provides for a private right of action against “any

person that … traffics in property which was confiscated by the Cuban Government”




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without authorization from the U.S. national who owns the claim to such property.

22 U.S.C. § 6082(a)(1)(A).

      Emma and Hilda, as claimants to the confiscated mining business, could have

brought claims under Title III, but once again, compensation was denied to them

because private rights of action were suspended under the authority given to the

President under Title III. Emma passed away in July 1996, a few months after the

enactment of the HBA. Hilda followed in June 2000.

      Two more decades passed, but then, in 2019, the State Department announced

a full lifting of the suspension of bringing private rights of action, effective May 2,

2019. This opened federal courts to victims of Castro’s confiscations, giving them

the opportunity for the first time to seek damages against anyone who “traffics” in

their stolen property. 22 U.S.C. § 6082(a)(1). That includes anyone who “engages

in a commercial activity using or otherwise benefiting from confiscated property,”

and anyone who “directs,” “participates in,” or “profits from” another person’s

trafficking. Id. § 6023(13)(A).

      The Singapore-based Trafigura Group does both. That Group—which

includes the Defendants-Appellants1—operates a global commodities trading

business that includes a mining operation in Cuba, conducted through a joint venture


1
  The Trafigura Group includes Trafigura Group Pte Ltd. and its subsidiaries
Trafigura Pte Ltd. and Trafigura Trading, LLC. See ROA.134 (chart of the Trafigura
Group’s corporate structure); ROA.291 (listing the principal entities of the Group).
                                         2
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with the Cuban government called EMINCAR. That mining operation uses and

benefits from the confiscated family business, its former mines and other property,

and other assets taken from Emma, Hilda, and the rest of their family. Defendants-

Appellants Trafigura Group Pte Ltd., Trafigura Pte Ltd., and Trafigura Trading, LLC

(collectively “Trafigura”) are members of the Trafigura Group and are involved in

the Cuban mining operation in various ways, both directly and through their

relationships with affiliates and Cuban government agencies. This is trafficking.

      Escalon set about building a case against Trafigura through the same hard

work and determination with which she built her new life here. She gathered

evidence, retained counsel, engaged in settlement discussions with Trafigura, and,

in 2020, was appointed as the Personal Representative of the Estate of Emma Diaz

and the Estate of Hilda Castanedo (the “Estates”). Although Trafigura was well

aware of the U.S. laws pertaining to doing business in Cuba, they refused every

opportunity to resolve this dispute by paying the compensation due to the rightful

owners of the Cuban mining operation that now feeds valuable commodities into the

Trafigura Group’s multi-billion-dollar global trading empire. So Escalon, in her

capacity as the Personal Representative, sued Trafigura.

      The district court dismissed that suit in a thinly reasoned order invoking a

provision of the HBA that bars actions based on claims to confiscated property that

were “acquired” after March 1996. The district court found that Emma’s and Hilda’s

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claims were “acquired” by either the Personal Representative, who was their only

heir listed in their wills, or by the Estates themselves. Either way, the court held, the

acquisition was untimely because it purportedly occurred when Emma and Hilda

passed away after the HBA’s March 12, 1996 bar date.

      That holding misunderstands the HBA and Florida probate law. Under Florida

law, neither the Estates nor the Personal Representative engaged in an untimely

acquisition of Emma’s and Hilda’s claims. The Estates were not capable of acquiring

the claims because, under Florida law, an estate is defined as the property of the

decedent; it is not a legal entity capable of acquiring property. Nor did the Personal

Representative acquire the claims. Rather, she was properly appointed to stand in

Emma’s and Hilda’s shoes and bring their claims as part of the administration of

their Estates. Because the HBA’s bar date would not have applied to Hilda and

Emma, it also did not, and does not, apply to the Personal Representative acting on

behalf of their Estates.

      The district court’s erroneous holding leads to the absurd outcome of

penalizing certain claim holders for dying at the wrong time—i.e., when the private

right of action was in effect but suspended (March 12, 1996 to May 2, 2019). The

HBA’s remedial purpose is thwarted by creating a safe harbor for traffickers and

depriving Castro’s victims and their families of the compensation that Congress

intended to provide them. This Court should reverse.

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                              Statement of Jurisdiction

      The district court had jurisdiction under 28 U.S.C. § 1331. The district court

granted Defendants-Appellees’ motion to dismiss on March 15, 2022 (ROA.2852-

2858) and denied reconsideration on March 29, 2023. ROA.2919. This appeal

followed on April 26, 2023. ROA.2920-2921. This Court has jurisdiction under 28

U.S.C. § 1291.

                                   Issues Presented
      1.     A Florida state probate court entered two orders appointing Appellant

Hilda Castanedo Escalon as the personal representative of the estates of her mother

and aunt and authorizing her to administer those estates, which included her

mother’s and aunt’s claims under Title III of the HBA. Did the district court err by

disregarding those orders and holding instead that those claims were not part of the

estates?

      2.     Under Florida law, an estate is defined as the property of a decedent

that is the subject of administration. An estate is not a legal entity capable of acting

in its own right. Did the district court err by holding, alternatively, that the mother’s

and aunt’s estates “acquired ownership” of their claims after the HBA’s bar date of

March 12, 1996?

      3.     The HBA bars actions based on claims to confiscated property if

ownership of those claims was “acquired” after the HBA’s March 12, 1996 effective


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date. Ms. Escalon’s mother and aunt acquired ownership of their claims before 1996

but died after the HBA’s effective date. Did the district court’s opinion contravene

Florida probate law by denying the ability of the personal representative to step into

the shoes of the deceased mother and aunt and bring their claims as authorized by

the Florida probate statutes and the Florida probate court’s orders?

                               Statement of the Case

      A.     Cuba Confiscated The Family Mining Business In 1960
      Beginning in 1913, Escalon’s family built a mining business in the Pinar del

Rio province in Cuba and extended their business into a vast territory known today

as the Matahambre-Castellanos-Santa Lucia Mining District. ROA.9 ¶2, ROA.15

¶25. Over the ensuing forty-seven years, the business expanded to include a mining

operation through the family-owned company Minas de Matahambre, S.A. (the

“Company”), the assets of the Company, including valuable mineral exploration and

exploitation rights as well as access rights and other interests in a private port used

to export commodities, and a sulfuric acid plant known as Rometales. ROA.14-17

¶¶24, 26-30. By 1960, the Company operated the largest mine in Cuba and was one

of the most prominent companies in the Cuban economy. ROA.19 ¶36.

      On July 21, 1960, the Castro regime announced the confiscation of the

Company, its assets, and Rometales, which were confiscated by June 1961. ROA.18-

19 ¶35. The Cuban government confiscated (i) the mining operation run by the


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Company, (ii) the Company’s assets, including Terminal Maritima de Santa Lucia

(the “Terminal”), the port terminal of Santa Lucia and its facilities (the “Port”),

agricultural land, mining concessions, roads, infrastructure, intangibles, and future

and contingent rights, and (iii) Rometales, which operated the sulfuric acid plant

next to the Port (collectively, the “Confiscated Property”). ROA.9 ¶2, ROA.14-15

¶24. Escalon’s family received no compensation, but the Cuban government

continued to enjoy substantial profits from the confiscated mining business over the

next four decades. ROA.19 ¶37.

      The wrongful confiscation ruined the family. Waldo P. Diaz, Escalon’s

grandfather and an owner of the Company, died in Cuba two years later in 1962.

ROA.16 ¶28. Hilda and Emma eventually fled Cuba, joined Escalon in the U.S., and

became U.S. citizens; having left everything behind in Cuba, they spent the rest of

their lives rebuilding their family here. Id. Emma passed away on July 27, 1996, and

Hilda passed away on June 6, 2000. See ROA.31-43, ROA.44-56 (probate court

filings). They acquired ownership of their claims to the Confiscated Property when

their father Waldo died, well before 1996. ROA.25-26 ¶60, see also ROA.67-69

(Escalon affidavit describing family history).




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      B.     The HBA Entered Into Force In 1996 But The Private Right Of
             Action For Victims Of The Castro Regime Was Suspended Until
             2019

      The HBA was enacted in 1996 to preserve the “fundamental right to own and

enjoy property which is enshrined in the United States Constitution” and to provide

a remedy for the “wrongful confiscation or taking of property belonging to United

States nationals by the Cuban Government, and the subsequent exploitation of this

property at the expense of the rightful owner.” 22 U.S.C. § 6081(1),(2). Congress

found that “[s]ince Fidel Castro seized power in Cuba in 1959 … he has trampled

on the fundamental rights of the Cuban people; and … through his personal

despotism, he has confiscated the property of” Cuban citizens, U.S. nationals, and

Cubans who have sought asylum in the United States. 22 U.S.C. § 6081(3).

      The Cuban Government has allowed foreign companies, such as the Trafigura

Group, to benefit and profit from using confiscated property. “This ‘trafficking’ in

confiscated property provides badly needed financial benefit, including hard

currency, oil, and productive investment and expertise, to the current Cuban

Government and thus undermines the foreign policy of the United States.” 22 U.S.C.

§ 6081(6).

      Because international law “lacks fully effective remedies” for this exploitation

of confiscated property, 22 U.S.C. § 6081(8), Congress decided that “the victims of

these confiscations should be endowed with a judicial remedy in the courts of the


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United States that would deny traffickers any profits from economically exploiting

Castro’s wrongful seizures.” 22 U.S.C. § 6081(11). Title III of the HBA provides

that remedy by authorizing a private right of action for damages against such

traffickers. See 22 U.S.C. § 6082. Although Title III’s creation of liability as to those

engaged in trafficking has remained in force since August 1996, the ability of any

potential plaintiff to bring a private right of action for Title III violations had been

suspended by the President until May 2019, when President Donald Trump allowed

the suspension of Title III’s private right of action to lapse, thereby allowing such

actions to proceed. See Garcia-Bengochea v. Carnival Corp., 57 F.4th 916, 920

(11th Cir. 2023).

      The private right of action created by Title III imposes liability on persons

who “traffic” in property confiscated by the Cuban Government on or after January

1, 1959, the claims to which are owned by persons who are U.S. nationals.

Specifically, the Act provides:

      (1) Liability for trafficking. — (A) Except as otherwise provided in this
      section, any person that, after the end of the 3-month period beginning
      on the effective date of this title, traffics in property which was
      confiscated by the Cuban Government on or after January 1, 1959, shall
      be liable to any United States national who owns the claim to such
      property for money damages.... 22 U.S.C. § 6082(a)(1).

       Trafficking is defined broadly to include, among other things, “engag[ing] in

a commercial activity using or otherwise benefitting from confiscated property” and

“(iii) caus[ing], direct[ing], participat[ing] in, or profit[ing] from, trafficking … by
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another person, or otherwise engag[ing] in trafficking … through another person....”

22 U.S.C. § 6023(13)(A)(ii), (iii).

      C.     Trafigura Continues To Traffic In The Confiscated Mining
             Business And Its Assets In Cuba

      In direct contravention of U.S. foreign policy, Trafigura trafficked, and

continues to traffic, in the Confiscated Property. In 2015, the Trafigura Group—

which includes Trafigura—made a substantial investment in a mining operation in

Cuba, conducted through an entity called EMINCAR, a joint venture between

Trafigura and the Cuban state agency Geominera (ROA.28 ¶75), and it continues to

operate today. See ROA.420 (2020 Annual report describing “[t]he Castellanos lead

and zinc mine, a joint venture between Trafigura and Cuban parastatal

Geominera.”).2 Trafigura owns a 49 percent interest in the joint venture, which it

funded with an initial investment of $230 million, increasing to $297.5 million in

2018. ROA.22 ¶¶ 50-51. The mining operation achieved profitability in 2018 and is

expected to continue for at least twenty-two years. Id. ¶51.

      Trafigura’s global trading business uses, benefits from, and profits from their

Cuban mining operations, which occupy and use the Confiscated Property. ROA.24

¶ 55. The success of Trafigura’s trading activities in the U.S. and globally depends



2
  The Cuban mining operations continue to be featured on Trafigura’s website at
https://www.trafigura.com/about-us/assets-and-alliances/trafigura-mining-group/
(last visited July 5, 2023).
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on the ability to take advantage of arbitrage opportunities in the Trafigura Group’s

markets. See ROA.204-205 (Sept. 11, 2020 prospectus for notes guaranteed by

Trafigura describing arbitrage opportunities). These opportunities arise because of

Trafigura’s mining and related activities using the Confiscated Property.

      In contravention of the HBA, Trafigura has never obtained authorization

from, or paid any compensation to, Plaintiffs-Appellants for the use of the

Confiscated Property. ROA.26 ¶61.

      D.     The Personal Representative, Acting On Behalf Of The Estates,
             Sued Trafigura For Trafficking
      Escalon, in her capacity as the Personal Representative of the Estates, sued

Trafigura on March 1, 2021, alleging Emma’s and Hilda’s claims for trafficking in

the Confiscated Property. ROA.8-30. The district court found that standing exists

under Article III but that the claims are barred because Emma and Hilda passed away

after March 12, 1996. ROA.2858. The district court reached none of the other

arguments raised by either side.

      The district court gave two primary reasons for dismissal. First, the court cited

Emma’s and Hilda’s wills, finding that “any rights Decedents had to the Confiscated

Property vested in Escalon on the dates of their deaths: July 27, 1996 and June 6,

2000, respectively.” ROA.2857. But this finding is contrary to the orders of the

Florida probate court admitting those wills to probate, both of which authorize the

Personal Representative to pursue the Title III claims as assets that are part of the
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Estates. This would not have been possible if the claims had immediately vested in

Emma’s and Hilda’s heir (Escalon) and were no longer part of their Estates; i.e.,

their property subject to administration.

      The district court also relied on an out-of-circuit decision in Fernandez v.

Seaboard Marine, Ltd., No. 20-CV-25176, 2021 WL 4902506 (S.D. Fla. Oct. 21,

2021). ROA.2857. That decision was issued months after the parties completed their

briefing on the motions to dismiss and was not addressed by either side. Among

other problems, the Seaboard Marine decision incorrectly construes Florida probate

law to require dismissal of claims because the original claim owners passed away

after March 12, 1996, the HBA’s bar date for Title III claims. See 22 U.S.C.

§ 6082(a)(4). Thus, it wrongly penalizes claim owners simply because they passed

away between March 12, 1996 (the bar date) and May 2, 2019 (the date when private

actions were permitted by the Executive Branch).

      Plaintiffs-Appellants moved for reconsideration of the dismissal order on

April 13, 2022. ROA.2864-2873. Trafigura opposed, and briefing was completed on

May 11, 2022. ROA.2874-2888, ROA.2913-2917. Over ten months later, the district

court issued a brief order denying reconsideration, relying on its prior analysis, and

providing no additional substantive analysis of the issues. ROA.2919.




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                            Summary of the Argument

      The district court’s thinly reasoned dismissal order misapprehends and

misapplies Florida state probate law. There is no dispute that Emma and Hilda

acquired ownership of their claims before the HBA’s bar date of March 12, 1996.

This satisfies the HBA’s timeliness requirement because the owners of the claims at

issue—Emma and Hilda—timely acquired those claims.

      It is also undisputed that the Florida state probate court, applying the Florida

probate code, appointed Escalon as the Personal Representative and authorized her

to prosecute Emma’s and Hilda’s claims as part of their Estates. The district court

should have followed the Florida probate court’s orders and found that Emma’s and

Hilda’s claims were part of their Estates and could be prosecuted by the Personal

Representative. Instead, the district court incorrectly found those claims vested in

Emma’s and Hilda’s heir (Escalon) immediately when they died, leaving no claims

in the Estates. The district court ignored the plain language of the probate court

orders to the contrary. This was error.

      The district court’s error finds no support in the HBA. That statute says

nothing about estates, nor does it purport to displace state probate laws or cabin the

power of a personal representative appointed by a state probate court. Emma and

Hilda resided in Florida at the time of their deaths, and their Estates are subject to

administration in the Florida state probate court in Miami-Dade County, which


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authorized the Personal Representative to pursue their claims on behalf of their

Estates. The district court effectively overruled that authorization based on its own

(incorrect) interpretation of Florida probate law.

      The district court attempted to buttress its error with an alternative finding

that, even if Emma’s and Hilda’s claims did not vest in their heir (Escalon), and thus

remained part of their Estates, those claims still must be dismissed because the

Estates “acquired ownership” of the claims from Emma and Hilda after the HBA’s

bar date. But this too was error.

      First, the district court misunderstood the legal nature of the Estates. Florida’s

probate code defines an estate as simply “the property of a decedent that is the

subject of administration.” Fla. Stat. § 731.201(14). If the estate is the property of

the decedent, it cannot acquire that property. Property cannot acquire itself.

      Second, the district court misunderstood the posture and authority of the

Personal Representative. A personal representative is authorized to prosecute claims

that are part of the estate, to satisfy and settle claims, and to distribute the proceeds.

Fla. Stat. § 733.612(20). But the claims and other “estate assets are not the personal

representative’s property.” State v. Lahurd, 632 So. 2d 1101, 1103 (Fla. Dist. Ct.

App. 1994). Rather, the personal representative merely “‘stands in [the decedent’s]

shoes.’” Sullivan v. Sessions, 80 So. 2d 706, 707 (Fla. 1955). The personal

representative may bring “causes of action the decedent had at the time of death.”

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Fla. Stat. § 731.201(32), and those causes of action are “subject to the strength and

weakness of the decedent’s cause of action had [they] survived.” Levy v. Baptist

Hosp. of Miami, Inc., 210 So. 2d 730, 731 (Fla. 3d DCA 1968). Had Emma and

Hilda survived, the HBA’s bar date would not have applied, so it was error to apply

it to the Personal Representative acting on behalf of their Estates.

      Finally, the district court’s overbroad application of the HBA’s bar date

expands its effect far beyond the narrow concern it addressed, which was to

“eliminate any incentive that might otherwise exist” for foreigners “to transfer

claims to confiscated property to U.S. nationals in order to take advantage of the

remedy created by” the HBA. H.R. Rep. No. 104-202, at 40 (1995). Preventing the

duly appointed personal representative of a deceased claim holder from pursuing a

valid trafficking claim undermines the statute’s purposes and raises serious

separation-of-powers concerns.

                                Standard of Review
      The Court reviews de novo the district court’s decision to dismiss the

complaint under Federal Rule of Civil Procedure 12(b)(6). Nathenson v. Zonagen

Inc., 267 F.3d 400, 406 (5th Cir. 2001). A Rule 12(b)(6) motion should be granted

only if it appears beyond a reasonable doubt that a plaintiff can prove no set of facts

supporting her claim that would entitle her to relief. ABC Arbitrage Plaintiffs Group

v. Tchuruk, 291 F.3d 336, 348 (5th Cir. 2002). Like the district court, the Court


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accepts as true the allegations in the complaint and construes them in the light most

favorable to the plaintiff. Nathenson, 267 F.3d at 406.

      The Court reviews questions of statutory interpretation de novo. Cimarex

Energy Co. v. CP Well Testing, L.L.C., 26 F.4th 683, 687 (5th Cir. 2022).

                                     Argument

      A.     The Personal Representative Was, And Is, Authorized To Pursue
             Emma’s And Hilda’s Claims
      The district court erred by finding that ownership of Emma’s and Hilda’s

claims immediately vested in their heir (Escalon) when they passed away in July

1996 and June 2000 respectively. The district court incorrectly reasoned that,

because Escalon was also the beneficiary of their wills, she inherited the claims at

their deaths and could not later bring those claims as the Personal Representative

acting on behalf of the Estates. ROA.2857. The district court’s finding is directly

contradicted by the Florida probate court’s orders authorizing the Personal

Representative to pursue Emma’s and Hilda’s claims as part of administering their

Estates. Those orders were provided to the district court, their validity was not

challenged, and they are dispositive.

      On July 8, 2020, the Personal Representative filed petitions for administration

of the Estates in the Probate Division of the Circuit Court for Miami-Dade County.

ROA.34-35 (Emma), ROA.47-48 (Hilda). The only asset listed for each Estate was:



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      Right to pursue a cause of action pursuant to the Cuban Liberty and
      Democratic Solidarity (LIBERTAD) Act, 22 U.S.C. Section 6021, et
      seq. (the “Act”) on property and rights confiscated (the “Confiscated
      Property”) to decedent … and to her father Waldo Pascual Diaz y
      Martinez by the Cuban Government without authorization by or
      compensation paid to their rightful owners ….

Id. The Florida probate court entered orders admitting both wills to probate and

appointing Escalon as the Personal Representative for both Estates. ROA.42-43, 55-

56. This means that the Personal Representative was, and is, authorized to pursue

those claims on behalf of the Estates. See Fla. Stat. § 733.612(20) (personal

representative may “[p]rosecute or defend claims or proceedings in any jurisdiction

for the protection of the estate, of the decedent’s property ….”).

      The district court inexplicably overruled the Florida probate court’s orders.

The latter authorize the Personal Representative to pursue Emma’s and Hilda’s

claims as part of their Estates, while the former concludes that the claims are not part

of their Estates. Where, as here, a state court has ruled on an issue of state probate

law, that ruling is entitled to deference. See Trent v. Nat’l City Bank of Indiana, 145

F. App’x 896, 898 (5th Cir. 2005) (stating that “the federal court ‘has no jurisdiction

to probate a will or administer an estate.’” (quoting Markham v. Allen, 326 U.S. 490,

494 (1946))). Deference to the Florida probate court is also appropriate because

Trafigura did not challenge the propriety of the Florida probate court’s orders when

arguing for dismissal of the claims. See ROA.140 and ROA.809 (Trafigura’s briefs

arguing that claims vested in Escalon). The only assets listed as part of the Estates
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were the claims to the Confiscated Property, making it abundantly clear to Trafigura

that those claims had not been transferred out of the Estates. If Trafigura thought the

probate court erred by authorizing probate of assets that actually were not part of the

Estates, they would have said so.

      This is not to say that Escalon’s interest as the beneficiary of the wills of

Emma and Hilda was overridden by the Florida probate courts orders. On this point,

Rice v. Green is instructive. There, the Florida court distinguished between legal and

equitable title to a decedent’s property, finding that the decedent’s wife “lacked

marketable title to the property” because the will was never offered for probate. 941

So.2d 1230, 1231 (Fla. Dist. Ct. App. 2006). Although the wife held “equitable title

to the property,” that property was still subject to the administration of the estate. Id.

So too here. Even if Escalon was immediately vested with the equitable title to

Emma’s and Hilda’s claims when they died, she did not, and could not, hold or

acquire the legal title because those claims remained subject to the administration of

the Estates. The district court should have followed the Florida probate court’s

orders and found that legal title to Emma’s and Hilda’s claims continues to be part

of their Estates and that Escalon is authorized to pursue those claims in her role as

the Personal Representative.




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      B.     The District Court Erred By Dismissing Emma’s And Hilda’s
             Claims Based On A Misconstruction Of Florida Probate Law
      As an alternative basis for dismissal, the district court cited Seaboard Marine

for the proposition that Emma’s and Hilda’s claims must be dismissed because they

did not become part of the Estates until Emma and Hilda passed away after the

HBA’s effective date (March 12, 1996). ROA.2857-2858. The district court’s one-

paragraph analysis on this point contravenes Florida probate law and erroneously

adopts the same flawed rationale of Seaboard Marine.

             1.     Under Florida probate law, the Estates did not “acquire
                    ownership” of the claims from Emma and Hilda
      Although the HBA requires a claimant to “acquire[] ownership of the claim

before March 12, 1996,” 22 U.S.C. §6082(a)(4)(B), it does not define “acquire,” nor

does it say anything about what happens to a trafficking claim when an owner who

satisfies this provision later passes away after March 12, 1996. The term “acquire”

carries its plain meaning. In the context of a claim by an heir (not an estate), the Fifth

Circuit has held that “[t]he plain meaning of ‘acquires’ is ‘to gain possession or

control of; to get or obtain.’” Glen v. Am. Airlines, Inc., 7 F.4th 331, 336 (5th Cir.

2021); see also Garcia-Bengochea, 57 F.4th at 930 (following Glen’s interpretation

in another case involving an heir claim).3 This is in accord with both popular and



3
 Glen and Garcia-Bengochea deal with claims involving heirs, not estates. Neither
Circuit has addressed an estate claim.

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legal dictionaries defining “acquire” to mean to get it as one’s own.4 See also Glen,

7 F.4th at 336 (quoting Black’s Law Dictionary and Webster’s Third New

International Dictionary). So, when the HBA uses the phrase “acquires ownership

of the claim,” it refers to the point when the claim holder obtains ownership of the

claim as her own.

      This ordinary meaning of acquire applies here. Under Florida law, estates do

not and cannot “acquire ownership” of property or anything else in the sense that

word is used in the HBA—i.e., estates cannot obtain claims to confiscated property

as their own. See Barnhill v. Johnson, 503 U.S. 393, 398 (1992) (“In the absence of

any controlling federal law, ‘property’ and ‘interests in property’ are creatures of

state law.”). This is because an estate is not an entity or person capable of having

anything as its “own.” Rather, an “estate” is simply “the property of a decedent that




4
  At the time Title III was enacted in 1996, popular and legal dictionaries defined
“acquire” in similar ways. See Acquire, Oxford English Dictionary (2d ed. 1989)
(“To gain, obtain, or get as one’s own, to gain the ownership of (by one’s own
exertions or qualities)” or “[t]o receive, or get as one’s own (without reference to the
manner), to come into possession of”) (emphasis added); Acquire, Black’s Law
Dictionary (6th ed. 1990) (“To gain by any means, usually by one’s own exertions;
to get as one’s own; to obtain by search, endeavor, investment, practice, or purchase;
receive or gain in whatever manner; come to have.”) (emphasis added).
Contemporary dictionaries concur. See, e.g., Acquire, Webster’s New World College
Dictionary (4th ed. 2004) (to “come to have as one’s own”) (emphasis added).

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is the subject of administration.”5 Fla. Stat. § 731.201(14); see also Wilkes v. United

States, No. 3:97-CV-1317-J-21A, 2000 WL 1367885, at *7 (M.D. Fla. Oct. 18,

2000) (describing estates as “merely the sum total of a deceased person’s property”

(quotation omitted)); Fla. Stat. § 731.201(32) (“Property” includes “causes of action

of the estate and causes of action the decedent had at the time of death”). An estate

is a legal fiction that describes the status of assets that have yet to be distributed.

      The district court cited Seaboard Marine for the contrary, and incorrect,

proposition. Seaboard Marine rests primarily on the erroneous conclusion that, at

death, ownership of the decedent’s trafficking claim is “acquired” by the decedent’s

estate. Fernandez, 2021 WL 4902506, at *5 (“Indeed, upon the death of each of the

Blanco Rosell Siblings, their purported claims to the Confiscated Property ‘became

an asset of [their] [Estates].’” (citation omitted)). Under this reasoning, if death

occurs after the March 12, 1996 bar date of the HBA, the claim is barred because the

estate purportedly “acquired ownership” of the claim too late. But Seaboard

Marine’s interpretation of the relationship between the estate and the decedent’s

property misconstrues what the estate is under Florida law. Logically, if the estate is


5
 This is consistent with the nature of an estate in other jurisdictions too. See, e.g.,
Smith v. Cimmet, 199 Cal. App. 4th 1381, 1390 (2011); Est. of Tallman ex rel.
Tallman v. City of Gastonia, 682 S.E.2d 428, 434 (N.C. App. 2009); Zaboth v. Beall,
26 Va. Cir. 269, 1992 WL 884464, *1 (Va. 1992); Republic Bankers Life Ins. Co. v.
Bunnell, 478 S.W.2d 800, 801 (Tex. Civ. App. 1972); Matter of Tr. Est. of Renjes,
42 Haw. 151, 163 (1957).

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the property of the decedent, it cannot acquire that property. See Fla. Stat.

§731.201(14); see also 33 C.J.S. Executors and Administrators § 5 (“The ‘estate’ of

a deceased person is not a legal entity but is merely a name indicating the sum total

of the decedent’s assets and liabilities”).

      The Estates did not, and could not, acquire ownership of Emma’s and Hilda’s

claims to the Confiscated Property, because they are Emma’s and Hilda’s claims.

Because Seaboard Marine’s holding cannot be squared with the legal nature of the

Estates, a fortiori, neither can the district court’s holding.

             2.     Under Florida probate law, the Personal Representative
                    stepped into Emma’s and Hilda’s shoes to bring the claims
                    those decedents owned at death

      The district court’s adoption of Seaboard Marine’s misapprehension of the

term “estate” under Florida probate law creates a conflict with the duty of the

Personal Representative to prosecute Emma’s and Hilda’s claims on behalf of their

Estates. “Under Florida law, ‘it is well-settled that ‘an ‘Estate’ is not an entity that

can be a party to litigation. It is the personal representative of the estate, in a

representative capacity, that is the proper party.’” United States v. Est. of Schoenfeld,

344 F. Supp. 3d 1354, 1367 (M.D. Fla. 2018) (quoting Spradley v. Spradley, 213

So.3d 1042, 1045 (Fla. 2d DCA 2017)). A personal representative “may properly …

[p]rosecute or defend claims or proceedings in any jurisdiction for the protection of

the estate, of the decedent’s property ….” Fla. Stat. § 733.612(20). And she is


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authorized to “[s]atisfy and settle claims and distribute the estate as provided in this

code.” Fla. Stat. § 733.612(24); see also All Children’s Hosp., Inc. v. Owens, 754

So. 2d 802, 806 (Fla. Dist. Ct. App. 2000) (“It is the general duty of the personal

representative to settle and distribute the estate.”).

      Although the personal representative takes “possession or control” of “the

decedent’s property,” Fla. Stat. § 733.607(1), she does not “gain ownership of” or

“get” that property as her “own.” The “estate assets are not the personal

representative’s property.” State v. Lahurd, 632 So. 2d 1101, 1103 (Fla. Dist. Ct.

App. 1994) (emphasis added). And while the personal representative has the

authority to assert the decedent’s rights in court, the representative merely “‘stands

in [the decedent’s] shoes.’” Sullivan, 80 So. 2d at 707; see also Magwood v. Tate,

835 So. 2d 1241, 1243 (Fla. Dist. Ct. App. 2003) (“[I]t is essential to understand that

the estate stands in the shoes of [the decedent].”).

      Relying on Seaboard Marine, the district court misconstrued the role of the

personal representative, the estate, and the heir under Florida law. In the case of an

“acquisition” of a claim by an heir—which is what the district court incorrectly

found here6—the personal representative’s authorization to “[p]rosecute or defend



6
  As discussed already, the Florida state probate court ordered Emma’s and Hilda’s
claims to the Confiscated Property to be administered on behalf of their Estates.
Those claims did not vest in Emma’s and Hilda’s heir.

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claims” becomes superfluous if, as the district court held, the claim automatically

vests in the heir, leaving nothing to prosecute on behalf of the estate.7 Fla. Stat.

§ 733.612(20). In the case of an “acquisition” by the estate—the alternative scenario

contemplated by the district court’s dismissal order—the district court would put the

personal representative in the role of an agent, with the estate as the principal that

“acquires” the decedent’s property. This is an impossibility because the estate is the

decedent’s property, and property is not a legal entity capable of being a principal

and engaging an agent. A house does not hire a realtor, the owners of the house do.

      The district court should have allowed the Personal Representative to do what

Florida probate law and the Florida probate court authorized her to do—i.e., step

into Emma’s and Hilda’s shoes and prosecute their claims on behalf of their Estates.

Emma and Hilda timely acquired ownership of those claims (ROA.2857), and the

HBA’s bar date is inapplicable to them. Relying on Seaboard Marine, the district

court thwarted this straightforward application of Florida probate law by treating the

Estates as having acquired ownership of the claims in their own right. This is

contrary to Florida law, which clarifies that the estate includes “causes of action the


7
   Numerous administrative activities—such as liquidating assets, winding up
contracts and business dealings, paying creditors, paying assessments and taxes,
obtaining property insurance, pursuing claims, and employing professionals to assist
with these activities—would be difficult, if not impossible, for the personal
representative to perform if the estate was immediately divested of the decedent’s
property upon death. See Fla. Stat. §733.612 (authorizing the personal representative
to take over two dozen actions to administer the estate).
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decedent had at the time of death.” Fla. Stat. § 731.201(32). Those causes of action

are “subject to the strength and weakness of the decedent’s cause of action had [they]

survived.” Levy, 210 So. 2d at 731 (emphasis added). Had Emma and Hilda

survived, the strength of their causes of action would be measured by the date they

acquired their claims to the Confiscated Property, which was before March 12, 1996.

Because Emma and Hilda timely acquired ownership of their claims, the Personal

Representative may pursue those claims on behalf of their Estates, and timeliness is

no more a defense against the Personal Representative than it would have been

against Emma and Hilda.

             3.     The District Court relied on Seaboard Marine’s
                    misconstruction of Florida probate law
      Seaboard Marine rested its contrary holding on two Florida decisions, neither

of which supports dismissal. The first case, Sharps v. Sharps, 214 So. 2d 492 (Fla.

Dist. Ct. App. 1968), involved an action brought by an estate’s executor to recover

a check the decedent received before he died, but which his wife deposited in her

own account soon after he died. Id. at 493-94.

      The Sharps court did not hold, as the district court assumed, that the estate

“acquired” the check upon the husband’s death. Just the opposite. The court

explained that, unless the wife could prove that her husband “had made a gift of the

check to her,” it remained his property and thus “became an asset of the husband’s

estate” upon his death. Sharps, 214 So. 2d at 495; see id. (noting that “the wife still
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held the husband’s check” when he died). That entirely follows the statute’s

definition of an estate as “the property of a decedent.” Fla. Stat. § 731.201(14).

      The second decision, Depriest v. Greeson, 213 So. 3d 1022 (Fla. Dist. Ct.

App. 2017), is no more supportive. That case involved a lawsuit filed against an

estate and its personal representative for damages the plaintiff sustained when the

decedent’s daughter crashed his car soon after he died. Id. at 1025. The court

explained that “[a]lthough the [father’s] car was an asset of the estate, it did not

belong to anyone individually.” Id. at 1025.

      The Seaboard Marine court thought that the decedents’ assets had become

property of their estates and “‘no longer belonged to them individually.’” 2021 WL

4902506, at *1. That is not what Depriest says. By statute, the car—and every other

asset of the estate—was “the property of a decedent that is the subject of

administration.” Fla. Stat. § 731.201(14). The issue before the court in Depriest was

not whether the decedent owned the car. Rather, the issue was whether the car

“belong[ed] to” the decedent’s son or daughter. The court held that it belonged to

neither because the car remained “subject to administration.” Depriest, 213 So. 3d

at 1025 (citing Fla. Stat. § 731.201(14)). “Ultimate ownership” would thus not be

determined until the conclusion of the probate process. Id. at 1026.




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      C.     Barring Claims Brought As Part Of The Administration Of
             Estates Would Undercut Title III’s Purpose And Raise Serious
             Separation-Of-Powers Concerns

      The HBA’s bar date was meant to “eliminate any incentive that might

otherwise exist” for foreigners “to transfer claims to confiscated property to U.S.

nationals in order to take advantage of the remedy created by” the Act. H.R. Rep.

No. 104-202, at 40 (1995). That purpose is not served by preventing the personal

representatives of estates of U.S. nationals who acquired their claims well before the

bar date from asserting those claims under Title III. It undercuts Congress’s stated

intention to offer “fully effective remedies for the wrongful confiscation of property

and for unjust enrichment from the use of wrongfully confiscated property” and to

“deny traffickers any profits from economically exploiting Castro’s wrongful

seizures.” 22 U.S.C. § 6081(8),(11).

      Giving effect to Congress’s purposes here is important for another reason, too.

Congress gave the President discretion to suspend Title III’s private right of action,

but it sharply constrained the President’s authority to extinguish that right of action.

Thus, the President may suspend Title III for six months at a time if he “determines”

that doing so “is necessary to the national interests of the United States and will

expedite a transition to democracy in Cuba.” 22 U.S.C. § 6085(c)(1)(B); see id.

§ 6064(a). But he may not terminate the right of action unless he determines that a

democratically elected government has taken power in Cuba. Id. § 6082(h)(1)(B).


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      Interpreting the bar date to apply to estates of Castro’s victims would upend

the balance Congress struck. It would allow the Executive Branch effectively to

extinguish Title III by attrition. It has nearly done so already. Until President Trump,

successive presidential administrations had “suspended” the right to bring an action

under Title III for some 23 years. Unsurprisingly, the revolution’s immediate

victims—exiled in the 1960s—have entered old age in that time. Many have died.

Congress cannot have intended the bar date and suspension authority, working

together, to allow the President to circumvent the restrictions it placed on his

authority to terminate Title III’s right of action.

                                      Conclusion

      The district court’s judgment should be reversed, and the case remanded for

further proceedings.

Date: July 11, 2023                      Respectfully submitted,
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                         CERTIFICATE OF SERVICE

      I hereby certify that on July 11, 2023, a true and correct copy of the

foregoing Brief for Plaintiffs-Appellants was served via electronic filing with the

Clerk of Court and all registered ECF users.

Upon acceptance by the Court of the e-filed document, 7 paper copies will be filed

with the Court within the time provided in the Court’s rules via Federal Express.



Dated: July 11, 2023

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